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                                   UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 6
     MICHAEL MOI,
 7
                                    Plaintiff,              No. C17-0853RSL
 8
                             v.                             ORDER GRANTING DEFENDANTS’
 9                                                          MOTION FOR PROTECTIVE
     CHIHULY STUDIO, INC., et al.,                          ORDER
10
                                    Defendants.
11
12
13         This matter comes before the Court on defendants’ “Motion for a Protective Order.” Dkt.
14    # 84 (a redacted, publicly available version is docketed at Dkt. # 82). Defendants refused to
15    produce attorney-client communications and/or confidential settlement agreements to plaintiff
16    during discovery and filed this motion for a protective order under Fed. R. Civ. P. 26(c).
17    Having reviewed the papers submitted by the parties,1 the Court finds that the attorney-client
18    communications are privileged and that the settlement agreements are both irrelevant and
19    inadmissible. The motion for protective order is GRANTED.
20
21         Dated this 20th day of June, 2019.
22                                                A
23                                                Robert S. Lasnik
                                                  United States District Judge
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               Plaintiff’s untimely response has been considered.

     ORDER GRANTING DEFENDANTS’
     MOTION FOR PROTECTIVE ORDER
